     Case 2:07-cr-00080-CRW-PAL        Document 321       Filed 06/21/12     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
                                        ***


UNITED STATES OF AMERICA,

              Plaintiff,                            02:07-CR-00080-CRW-PAL

v.
                                                            ORDER
MICHAEL JENKINS,

              Defendant.



             Hearing will be held at 9:00 a.m. on August 15, 2012 at the U.S. Courthouse in

Las Vegas, Nevada.

             IT IS SO ORDERED.

             Dated this 21st day of June, 2012.




                                              1
